Case 2:19-cv-14331-KMM Document 1 Entered on FLSD Docket 09/06/2019 Page 1 of 6



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

  DAVID POSCHMANN,

                 Plaintiff,
  v.                                                             CASE NO.

  R POWER HOLDINGS, INC.,

                 Defendant.
  _______________________________________    /
                                             COMPLAINT

         Plaintiff, David Poschmann, by and through his undersigned counsel, hereby sues the

  Defendant, R POWER HOLDINGS, INC., for injunctive relief pursuant to the Americans With

  Disabilities Act, 42 U.S.C. §12181, et seq. (the "ADA") and in support thereof states as follows:

                                            JURISDICTION

          1.     This court has subject-matter jurisdiction since this action arises pursuant to 28

  U.S.C. § 1331 and §1343 and Plaintiffs claim arises under 42 U.S.C. §12181 et seq. based upon

  Defendant's violations of Title III of the ADA.

                                                 VENUE

         2.       Venue lies in this district pursuant to 28 U.S.C. § 1391(b) because the hotel,

  whose reservation system is at issue herein, is located in this district and, inter alia, the events

  giving rise to the claim asserted herein occurred in this district.

                                                 PARTIES

          3.      Plaintiff, David Poschmann, is an individual residing in this district who is over

  eighteen years of age and sui juris. Plaintiff is disabled as such term is defined by the ADA and

  is substantially limited in performing one or more major life activities due to the amputation of

  his right leg in 2012. Plaintiff uses a wheelchair to ambulate. Plaintiff drives his own specially
Case 2:19-cv-14331-KMM Document 1 Entered on FLSD Docket 09/06/2019 Page 2 of 6




  equipped vehicle and has a valid disabled parking permit from the Florida Department of

  Highway Safety and Motor Vehicles. Defendant's online hotel reservation system fails to comply

  with the requirements of 28 C.F.R. §36.302(e) and therefore Plaintiffs full and equal enjoyment

  of the goods, services, facilities, privileges, advantages and/or accommodations offered thereon

  are restricted and limited because of Plaintiff s disability and will be restricted in the future

  unless and until Defendant is compelled to cure the substantive ADA violations contained on the

  hotel's online reservation system. Plaintiff intends to visit the online reservation system for

  Defendant's hotel in the near future to book a guest room and utilize the goods, services,

  facilities, privileges, advantages and/or accommodations being offered and/or to test the online

  reservation system for compliance with 28 C.F.R. §36.302(e).

          4.      Defendant is the owner and operator of the 1818 Meridian House, located at 1816

  Meridian Avenue in Miami Beach, Florida ("the Hotel"). The online reservation system for the

  Hotel is found at www. 1818merdianhouse.com.

                  CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA

          5.      On July 26,1990, Congress enacted the ADA explaining that the purpose of the

  ADA was to provide a clear and comprehensive national mandate for the elimination of

  discrimination against individuals with disabilities and to provide clear, strong, consistent,

  enforceable standards addressing said discrimination, invoking the sweep of congressional

  authority in order to address the major areas of discrimination faced day-to-day by people with

   disabilities to ensure that the Federal government plays a central role in enforcing the standards

   set by the ADA. (42 U.S.C. § 12101 (b)(l)-(4)).

          6.      Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

   Department of Justice, Office of the Attorney General, published revised regulations for Title III




                                                      2
Case 2:19-cv-14331-KMM Document 1 Entered on FLSD Docket 09/06/2019 Page 3 of 6




  of the Americans With Disabilities Act of 1990 in the Federal Register to implement the

  requirements of the ADA. Public accommodations, including places of lodging, were required to

  conform to these regulations on or before March 15, 2012.

          7.       On March 15, 2012, new regulations implementing Title III of the ADA took

  effect, imposing significant new obligations on inns, motels, hotels and other places of lodging.

  28 C.F.R. §36.302(e) states:

          "(1) Reservations made by places o f lodging. A public accommodation that owns, leases
  (or leases to), or operates a place of lodging shall, with respect to reservations made by any
  means, including by telephone, in-person, or through a third party -
  (i) Modify its policies, practices, or procedures to ensure that individuals with disabilities can
  make reservations for accessible guest rooms during the same hours and in the same manner
  as individuals who do not need accessible rooms;
  (ii) Identify and describe accessible features in the hotels and guest rooms offered through its
  reservations service in enough detail to reasonably permit individuals with disabilities to assess
  independently whether a given hotel or guest room meets his or her accessibility needs;1
  (iii) Ensure that accessible guest rooms are held for use by individuals with disabilities until all
  other guest rooms of that type have been rented and the accessible room requested is the only
  remaining room of that type;
  (iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms and ensure
  that the guest rooms requested are blocked and removed from all reservations systems; and
  (v) Guarantee that the specific accessible guest room reserved through its reservations service is
  held for the reserving customer, regardless of whether a specific room is held in response to
  reservations made by others."
           8.       The Hotel is a place of public accommodation that Defendant, directly or

  indirectly, owns and/or leases and/or operates pursuant to the ADA. The Hotel utilizes

  Defendant's online reservation system whereby potential patrons may reserve a guest room by


  1 The United States Department of Justice, in "28 C.F.R. Appendix A to Part 36, Guidance on Revisions to ADA
  Regulation on Nondiscrimination on the Basis of Disability by Public Accommodations and Commercial Facilities",
  provides a section-by-section analysis of 28 C.F.R. §36.302(e)(1). In its analysis and guidance, the Department of
  Justice's official comments state that "information about the Hotel should include, at a minimum, information about
  accessible entrances to the hotel, the path of travel to guest check-in and other essential services, and the accessible
  route to the accessible room or rooms. In addition to the room information described above, these hotels should
  provide information about important features that do not comply with the 1991 Standards." An agency's
  interpretation of its own regulations, such as the Department of Justice’s interpretation of 28 C.F.R. §36.3G2(e)(l),
  must be given "substantial deference" and "controlling weight" unless it is "plainly erroneous or inconsistent with
  the regulation." Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512, 114 S.Ct. 2381, 129 L.Ed.2d 405 (1994).


                                                             3
Case 2:19-cv-14331-KMM Document 1 Entered on FLSD Docket 09/06/2019 Page 4 of 6




  the night. The reservation system is subject to the requirements of 28 C.F.R.§ 36.302(e) and

  Defendant is responsible for said compliance.

          9.     Most recently, during August, 2019 Plaintiff, from his home in this district,

  attempted to specifically identify and book a guaranteed reservation for an accessible guest room

  at the Hotel but was unable to do so due to Defendant's failure to comply with the requirements

  set forth in paragraph 7.

          10.     Plaintiff is an advocate of the rights of similarly situated disabled persons and,

  pursuant to Houston v. MarodSupermarkets, Inc., 733 F.3d 1323 (11th Cir. 2013), is a "tester"

  for the purpose of asserting his civil rights, monitoring, ensuring, and determining whether

  places of public accommodation, including online reservation systems for places of lodging, are

  in compliance with the ADA.

          11.     Defendant has discriminated against Plaintiff by denying him access to and full

  and equal enjoyment of the goods, services, facilities, privileges, advantages and

  accommodations offered at the Hotel through its online reservation system due to the substantive

  ADA violations contained thereon.

          12.     The ADA violations for the online reservation system for Defendant's Hotel

   consist of the following:

          a)      A failure of any policy, practice, or procedure ensuring that individuals with
                  disabilities can make reservations for accessible guest rooms at the Hotel during
                  the same hours and in the same manner as individuals who do not need accessible
                  rooms;

          b)      A failure to identify and describe accessible features in the Hotel and
                  guest rooms offered through the reservations service in enough detail to
                  reasonably permit individuals with disabilities to assess independently whether
                  the Hotel or specific guest rooms meets his or her accessibility needs;




                                                     4
Case 2:19-cv-14331-KMM Document 1 Entered on FLSD Docket 09/06/2019 Page 5 of 6



          c)       A failure to ensure that accessible guest rooms at the Hotel are held for use by
                   individuals with disabilities until all other guest rooms of that type have been
                   rented and the accessible room requested is the only remaining room of that type;

          d)       A failure to reserve, upon request, accessible guest rooms or specific types of
                   guest rooms at the Hotel and ensure that the guest rooms requested are blocked
                   and removed from the reservations system; and

          e)       A failure to guarantee that the specific accessible guest room reserved through the
                   reservations service at the Hotel is held for the reserving customer, regardless of
                   whether a specific room is held in response to reservations made by others.
          13.      Plaintiff is without an adequate remedy at law and is suffering irreparable harm

  and he reasonably anticipates that he will continue to suffer irreparable harm unless and until

  Defendant is required to correct the ADA violations to the online reservation system for its Hotel

  and maintain its online reservation system and accompanying policies in a manner that is

  consistent with and compliant with the requirements of 28 C.F.R. §36.302(e).

          14.      Plaintiff has retained the undersigned counsel for the filing and prosecution of this

  action and is entitled to recover reasonable attorneys’ fees, costs and expenses from Defendant,

  including litigation expenses and costs pursuant to 42 U.S.C. §12205.

           15.     Pursuant to 42 U.S.C. § 12188(a), this Court is provided with authority to grant

  injunctive relief to Plaintiff, including an Order compelling Defendant to implement policies,

  consistent with the ADA, to accommodate the disabled, by requiring Defendant to alter and

  maintain its online reservation system in accordance with the requirements set forth in paragraph

  7 above.2



  2
    The injunction, to be meaningful and fulfill its intended purpose, should require Defendant to develop, and strictly
  enforce, a policy requiring regular monitoring of its online reservation system. As rates and classes of rooms change
  at its hotel, and the number and type of beds, accommodations and amenities offered in the various room types
  change from time to time, the availability of accessible rooms must be re-dispersed across these various price points,
  classes, as well as across rooms with disparate features (2010 ADA Standard 224.5). In light of the foregoing, in
  addition to regular ongoing website maintenance and to reflect physical changes at the Hotel, the online reservation
  system must continuously be updated to properly reflect and describe Defendant's compliance with the substantive
  ADA Standards regarding accessible places of lodging in accordance with 28 C.F.R. 36.302(e)(1).


                                                            5
Case 2:19-cv-14331-KMM Document 1 Entered on FLSD Docket 09/06/2019 Page 6 of 6




         WHEREFORE, Plaintiff, David Poschmarm, requests that the Court issue a permanent

  injunction enjoining Defendant from continuing its discriminator}' practices, ordering Defendant

  to implement policies, consistent with the ADA, to accommodate the disabled, through requiring

  Defendant to alter and maintain the online reservation system for the Hotel in accordance with

  the requirements set forth in paragraph 7 above, and awarding Plaintiff reasonable attorneys’

  fees, litigation expenses, including expert fees, and costs.

                                                         s/Drew M. Levitt
                                                         DREW M. LEVITT
                                                         Florida Bar No: 782246
                                                         DML2 @bell south .net
                                                         LEE D. SARKIN
                                                         Florida Bar No. 962848
                                                         lsarkin@aol.com
                                                         4700 N.W. Boca Raton Boulevard, Ste. 302
                                                         Boca Raton, Florida 33431
                                                         Telephone (561) 994-6922
                                                         Facsimile (561)994-0837
                                                         Attorneys for Plaintiff




                                                     6
